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                   UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


LAMBETH MAGNETIC STRUCTURES,
LLC,                                     Civ. No. 2:16-cv-00538-CB

                       Plaintiff,
                                         REDACTED
v.

SEAGATE TECHNOLOGY (US) HOLDINGS,
INC., and SEAGATE TECHNOLOGY LLC,

                    Defendants.



     DEFENDANT SEAGATE’S CONCISE STATEMENT OF MATERIAL FACTS
          IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                      CONCISE STATEMENT OF MATERIAL FACTS

       Pursuant to Local Civil Rule 56(B)(1), Defendants Seagate Technology (US) Holdings,

Inc. and Seagate Technology LLC (“Seagate”) submit this Concise Statement of Material Facts

in support of their Motion for Summary Judgment. 1


I.     Background Facts

       1.      United States Patent No. 7,128,988 (the “’988 Patent”), entitled “Magnetic

Material Structures, Devices and Methods,” issued on October 31, 2006, and has an effective

filing date of August 29, 2001. (Ex. 1, p. 1, Certificate of Correction (60).)

       2.      The ’988 Patent claims priority to a provisional patent application that was filed

on August 29, 2001. (Ex. 1, Certificate of Correction (60).)

       A.      Crystals

       3.      A crystalline material is one in which the atoms are arranged in an ordered,

repeating three-dimensional pattern that extends over a long range atomic scale. (Ex.14, Ross

5/2/18 Rpt. ¶ 34; Ex. 16, Fullerton 7/16/18 Rpt. ¶ 24; Ex. 17, Stach 7/16/18 Rpt. ¶ 32; Ex. 18,

Clark 5/2/18 Rpt. ¶19.)

       4.      A non-crystalline material does not have a long-range ordered arrangement of its

atoms or molecules. Non-crystalline materials are sometimes referred to as “amorphous.”

(Ex.14, Ross 5/2/18 Rpt. ¶¶ 34, 44; Ex. 16, Fullerton 7/16/18 Rpt. ¶ 35.)

       5.      A “unit cell” refers to an arrangement of atoms that repeats throughout a crystal

structure. (Ex. 14, Ross 5/2/18 Rpt. ¶ 36; Ex. 16, Fullerton 7/16/18 Rpt. ¶ 25; Ex. 17, Stach

7/16/18 Rpt. ¶¶ 33-34; Ex. 18, Clark 5/2/18 Rpt. ¶ 21; Ex. 20, Coffey 5/2/18 Rpt. ¶ 33.)


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  All “Ex.” citations are to the Exhibits attached hereto and listed in the Appendix, unless
otherwise noted. The materials cited herein are subject to the Stipulation and Order Regarding
the Authentication and Admissibility of Documents. (Dkts. 120, 121.)


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       6.      Crystalline materials can be classified as “single crystal” or “polycrystalline.”

(Ex. 14, Ross 5/2/18 Rpt. ¶ 34; Ex. 16, Fullerton 7/16/18 Rpt. ¶ 24.)

       7.      A single crystal is a crystal that has translational periodicity, which means that,

starting at one atom in the crystal and moving in a given direction, another atom in the crystal

will appear after some distance, d, and then continuing on in the same direction, yet another atom

will appear again after traveling distance d. (Ex. 14, Ross 5/2/18 Rpt. ¶¶ 34-35; Ex. 16, Fullerton

7/16/18 Rpt. ¶ 32-33; Ex. 17, Stach 7/16/18 Rpt. ¶ 58.)

       8.      A polycrystalline structure is a structure that contains multiple different crystals.

(Ex. 14, Ross 5/2/18 Rpt. ¶¶ 39-40; Ex. 16, Fullerton 7/16/18 Rpt. ¶ 34; Ex. 17, Stach 7/16/18

Rpt. ¶ 43; Ex. 18, Clark 8/3/18 Rpt. ¶ 73; Ex. 20, Coffey 5/2/18 Rpt. ¶ 36.)

       9.      The different crystals in a polycrystalline structure are sometimes referred to as

“grains.” (Ex. 14, Ross 5/2/18 Rpt. ¶¶ 41; Ex. 16, Fullerton 7/16/18 Rpt. ¶ 34, 57-59; Ex. 17,

Stach 7/16/18 Rpt. ¶ 43.)

       10.     Dr. Coffey stated in his Initial Report: “Often the orientations of the crystals in a

material having many crystals (known as a polycrystal or polycrystalline material) are random

and all crystal orientations are equally represented.” (Ex. 20, Coffey 5/2/18 Rpt. ¶ 36.)

       11.     Dr. Ross depicts and discusses an example of a polycrystalline structure in ¶¶ 39-

43 of her Initial Expert Report. Dr. Ross includes the follow two graphics as examples of a

polycrystalline structure in her Initial Expert Report. (Ex. 14, Ross 5/2/18 Rpt. ¶¶ 41-42.)




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       B.      Crystal Structure and Orientation

       12.     A “bcc” crystal is a cubic crystal in which atoms appear at the corners of a cubic

unit cell and one atom appears in the center of the cube. A bcc crystal is depicted below. (Ex.

14, Ross 5/2/18 Rpt. ¶ 48; Ex. 16, Fullerton 7/16/18 Rpt. ¶¶ 27-28; Ex. 17, Stach 7/16/18 Rpt. ¶

33; Ex. 18, Clark 5/2/18 Rpt. ¶ 22; Ex. 8, Clark 8/16/18 Dep. at 39.)




       13.     An “fcc” crystal is a cubic crystal in which the atoms appear at the corners of a

cubic unit cell and on each face of the cube. An fcc crystal is depicted below. (Ex.14, Ross

5/2/18 Rpt. ¶ 47; Ex. 16, Fullerton 7/16/18 Rpt. ¶¶ 29-30; Ex. 17, Stach 7/16/18 Rpt. ¶ 33; Ex.

18, Clark 5/2/18 Rpt. ¶ 21; Ex. 8, Clark 8/16/18 Dep. at 39.)




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               2.      LMS Sued Toshiba and TDK, Alleging that All of Toshiba’s PMR
                       HDDs and TDK’s PMR Heads and/or HGAs Practice the ’988 Patent

       287.    On November 6, 2014, LMS filed a complaint against Toshiba Corporation, a

manufacturer of HDDs, alleging infringement of the ’988 Patent (the “Toshiba/TDK Lawsuit”).

See Lambeth Magnetic Structures v. Toshiba Corp., Case No. 2:14-cv-1526-CB (W.D. Pa.) (Dkt.

1, Compl. Against Seagate). In its Third Amended Complaint in the Toshiba/TDK Lawsuit,

LMS also accused TDK Corporation—a manufacturer of write heads for HDDs—along with

other TDK-related entities, including SAE Magnetics H.K. Ltd. (“SAE”) and Headway

Technologies, Inc. (“Headway”) (collectively, “TDK”)—of infringing the ’988 Patent. (Ex. 29,

Toshiba Compl.)

               In its complaint, LMS alleged that Toshiba’s HDDs infringed the ’988 patent.

(See, e.g., id. ¶¶ 35-38, 44-47, 52-56.)




       289.    LMS also alleged that TDK’s PMR heads and PMR head gimbal assemblies

(“HGAs”), which include PMR heads, infringe the ’988 Patent. (See Ex. 29, Toshiba Compl.

¶¶ 73-86 (accusing SAE’s PMR heads, wafers, and sliders of infringing the ’988 Patent); id.

¶¶ 92-102 (accusing Headway’s PMR heads, wafers, and sliders of infringing the ’988 Patent);

id. ¶¶ 108-109 (alleging that “TDK provides instrumentalities containing PMR heads, e.g., PMR

HGAs, to hard disk drive manufacturers,” and TDK’s PMR HGAs “are incorporated into Hard

Disk Drive Devices including the accused Toshiba Hard Disk Drive Devices and Hard Disk

Drive Devices of other hard disk drive manufacturers”); id. ¶¶ 112, 114-117.)



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Dated: October 11, 2018
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